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          Exhibit 5
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                                           U.S. Patent No. 8,018,852 (“’852 Patent”)
Exemplary Accused Product

        NetApp products, including at least each of the following products (and their variations) infringe at least Claim 1 of the ’852
Patent: NetApp ONTAP OS and storage and network controllers running ONTAP OS. The infringement chart below is based on the
NetApp ONTAP 9 OS (“ONTAP 9”), which is exemplary of the infringement of the ’852 Patent.

                  Claims                                                                                           ONTAP 9
 [1pre]. A equal-cost source-resolved         ONTAP 9 enabled devices perform an equal-cost source-resolved (ECSR) port
 (ECSR) port selection method for             selection method for transmitting an outbound flow from a source node to a destination
 transmitting an outbound flow, for a         node in a distributed network comprising one or more routers.
 conversation, from a first node to a
                                               Port-based load balancing
 second node in a distributed network
                                              You can equalize traffic on a multimode interface group based on the transport layer (TCP/UD P) ports by us ing the port-base d load-ba lancing method .
 comprising one or more routing devices,
                                              The port-base d load-balancing method uses a fast hashing a lgorithm on the source and destination IP addresses along with the transport layer port num ber.
 the method comprising the steps of:
                                              https://library.netapp.com/ecmdocs/ECMP1114171/html/GUID-44BF66B6-A777-
                                              4152-B4D3-8ECB221EBBD9.html




                                                                 IP - 0 10 20                                      IP - 10103
                                                                 MAC - 00 00 .aa bb                                MAC - 00 00 cc cc


                                                               j
                                                                                                                                                NetApp
                                                   Host1                                                                                       Controller
                                                                        IP - 1010                             I IP - 10103 100
                                                                        MAC - 00 00 aa aa                       MAC - 00 00 .cc dd         I




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                                           https://www.netapp.com/us/media/tr-3802.pdf

                                              Switch A                      Switch 8




                                                                                          Second Level
                                                                                         Single-mode VIF


                                                                                           F t Level
                                                                                         Multi-mode VIF




                                                              NetApp
                                                             Controler

                                           https://www.netapp.com/us/media/tr-3802.pdf

[1a] at a switching device:                ONTAP 9 is executed on a switching device.




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                                               Switch A                             Switch B




                                                                                                  Second Level
                                                                                                 Single-mode VIF


                                                                                                    First Level
                                                                                                  Multi-mode VIF



                                                                11111111
                                                                  NetApp
                                                                 Controller


                                           https://www.netapp.com/us/media/tr-3802.pdf

[1b] identifying a plurality of ports      ONTAP 9 identifies a plurality of ports associated with minimal equal-cost paths from
associated with minimal equal-cost paths   the first node to the second node.
from the first node to the second node;
                                           •    Ports:
                                                -   Physical ports: These ports are used for various functions and can have different types of
                                                    configurations .
                                                -   Logical ports: Virtual LANs (VLANs)/(802.1 Q) and interface groups (IFGRPs) make up the
                                                    options for logical ports .


                                           https://www.netapp.com/us/media/tr-4182.pdf




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                                              Port bonding methodsare available on both the network and storage componentsto aggregate multiple
                                              physical links into a single virtual interface. A load balancing algorithm distributestraffic across the physical
                                              links in the channel to provide additional performanceand redundancywithin the network.

                                              The terminologyfor this technologysometimes differs between NetApp and the networking industry, which can
                                              cause confusion. While the networkindustryuses terms such as EtherChannel or port-channel, NetApp calls
                                              these Multi-Mode VIFs, or virtual interfaces. An incorrectterm that's sometimes used is "trunked Interfaces" or
                                              "trunk". The term "trunk" or "trunking• should be avoided, since the networking industry
                                              already uses the term trunk to describe VLAN trunking.

                                             Load balancing In multlmode Interfacegroups
                                             Youcanensurethatal Interfaces of a muttlmode lnlerface
                                                                                                  groupare equally utlzedforoutgoing                                     , roood--robtn
                                                                                                                                   trafficbyusi,gthe IP address,MACaddress          . or port basedload-balancing
                                                                                                                                                                                                               melhodsto distribule     trafficequally
                                                                                                                                                                                                                                  netwonc
                                             overthe networkporu;of a multlmode Interface
                                                                                        group.




                                             https://library.netapp.com/ecmdocs/ECMP1114171/html/GUID-27EAC723-A07A-
                                             4F60-A1AC-8E91AE6AE82E.html

[1c] if an inbound flow, for the             ONTAP 9 associates a network address of the inbound flow with the first port on which
conversation, received from the second       it was received if an inbound flow, for the conversation, received from the second node
node is detected on a first port of the      is detected on a first port of the plurality of ports of the first node.
plurality of ports of the first node, then
associating a network address of the
inbound flow with the first port on which     Fast path is an alternative routing mechanism to the routing table, in which the responses to incoming network tr affic are sent back
it was received; and                          by using the same int erface as the incoming traffic. By avoid ing the routing tab le lookup, fast path provides a shorter route for data
                                              access. Fast path is used in all TCP and NFS/UDP protocols.
                                              By default. fast path is enabled on the storage system; however , you can disable it.



                                             https://kb.netapp.com/app/answers/answer_view/a_id/1002602/~/how-does-ip-fast-
                                             path-function-



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                                                                                                                                                      address
                                                                                                                                                           , round-rob",orportbasedload-balancing
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                                                           portsota 11'lffirnode
                                             overIllenet.Yale                 ,1ertacegroup
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                                          https://library.netapp.com/ecmdocs/ECMP1114171/html/GUID-27EAC723-A07A-
                                          4F60-A1AC-8E91AE6AE82E.html
                                           Port-based load balancing
                                           You can equa lize traffic on a multimode interface group based on the transport layer (TCP/UDP) ports by using the port-based load-ba lancing method .

                                           The port-base d load-balanc ing method uses a fast hashing algorithm on the source and desUnation IP addresses along with the transport layer port numbe r.



                                          https://library.netapp.com/ecmdocs/ECMP1114171/html/GUID-44BF66B6-A777-
                                          4152-B4D3-8ECB221EBBD9.html
                                            4. Port - Traffic balancing based on source and dest inat ion IP addresses along with the transport layer port number . Also referred
                                               to as IP+port. Available in Data ONTAP versions 7.3.1D3and post 7.3.2. Because this choice adds the TCP/ UDP port number to
                                               the calculation, a single host can have multiple TCP streams to the Storage Controller, each stream using a different member
                                               interface within the VIF/ifgrp. This can allow for bandwidth usage that is higher than the throughput possible in a single
                                               member interface.



                                          https://kb.netapp.com/app/answers/answer_view/a_id/1001531/~/how-does-load-
                                          balancing-on-a-vif-work%3F-

                                            As of Data ONTAP 7.3.2,a multimode or LACP ifg rp/vif uses an implementation of a "SuperFastHash", utilizing the last 16 bits of the
                                            source and destination IP addresses (-b ip), the last 16 bits of the source and destination MAC addresses (-b mac), or the last 16 bits
                                            of the source and destination IP addresses in combination with the source and destination TCP port (-b port) .


                                            The output of the algorithm results in a far more dynamic, more balanced distribution than the algorithm used in versions
                                            of Data ONTAP prior to 7.3.2. The result is still the same, however, in that each TCP stream will associate with only one interface,
                                            allowing for only one port's worth of bandwidth per TCP stream.




                                          https://kb.netapp.com/app/answers/answer_view/a_id/1001531/~/how-does-load-
                                          balancing-on-a-vif-work%3F-

[1d] transmitting the outbound flow from ONTAP 9 transmits the outbound flow from the first port of the first node to the second
the first port of the first node to the   node based on the network address associated with the inbound flow.
second node based on the network
address associated with the inbound flow.




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                             withNFS/UDP
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             Fastpell'I                . However
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             https://library.netapp.com/ecmdocs/ECMP1114171/html/GUID-8276014A-16EB-4902-
             9EDC-868C5292381B.html
              Fast path is an alternative routing mechanism to the routing tab le, in which the responses to incoming network traff ic are sent back
              by using the same interface as the incoming traffic. By avoiding the routing table lookup, fast path provides a shorter route for data
              access. Fast path is used in all TCP and NFS/UDP protocols.
              By default , fast path is enabled on the storage system; however, you can disable it.



             https://kb.netapp.com/app/answers/answer_view/a_id/1002602/~/how-does-ip-fast-
             path-function-
               0   Load balancing between multiple network interfaces on the same subnet.
                   Load balancing is achieved by sending responses on the same interface of your storage system that receives the incoming
                   requests.
                   If fast path is enabled on an interface group and a physica l interface in that group receives an incoming request, fast path
                   does not govern which physical interface group member port sends a response to the request (this is specifically related to
                   LACP or static mult i mode inte rface group). In an interface group, the interface selected when transmitting a packet is
                   determined based upon the configured load balancing policy, and incoming traffic will arrive based upon how the
                   neighboring switch utilizes its own load balancing policy to select ports when transmitting traffic.
               0   Improved storage system performance by skipping routing table lookups. For more infor mation on how rout ing in Data
                   ONTAP works, see 1014265: Triage Template - How to troubleshoot Default Route/ Routing Issues in Data ONTAP 7-Mode



             https://kb.netapp.com/app/answers/answer_view/a_id/1002602/~/how-does-ip-fast-
             path-function-




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              Remember, the load balancingin an IFGRP occurson outboundtraffic, not inboundtraffic. So,
              when a responseis being sent back to a requester,the load-balancingalgorithmcomes into play
              to determinewhich "path" is optimalto use to send the response back. Also, it's importantto note
              that the precedingload-balancingoptionsmight differfrom other settingsin the environment.You
              shouldthoroughlycheck other devices that might be connectedto the portson the nodes in the
              cluster. If you use "port"on the IFGRP configurationon the cluster, make sure that the switch port
              on the Cisco, Juniper, Brocade, or other device is also configuredin the same way.


             https://www.netapp.com/us/media/tr-4182.pdf
              4. Port - Traffic balancing based on source and destination IP addresses along with the transpor t layer po rt number . Also referred
                 to as IP+port . Available in Data ONTAP versions 7.3.1D3and post 7.3.2. Because thi s choice adds the TCP/UDP port number to
                 the calculation , a sing le host can have mu ltiple TCP strea ms to the Storage Controller, each stream using a different member
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             https://kb.netapp.com/app/answers/answer_view/a_id/1001531/~/how-does-load-
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               As of Data ONTAP 7.3.2, a mult imode or LACP ifgrp/vif uses an implementat ion of a "SuperFastHash", ut ilizing the last 16 bits of the
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               of the source and dest inat ion IP addresses in combination with t he source and destinat ion TCP port (- b port).


               The output of the algor ithm results in a far more dynamic, more balanced dist ribution than the algorithm used in versions
               of Data ONTAP prior to 7.3.2. The result is still the same, however, in that each TCP stream will associate with only one interface ,
               allowing for only one port's worth of bandw idth per TCP stream.




             https://kb.netapp.com/app/answers/answer_view/a_id/1001531/~/how-does-load-
             balancing-on-a-vif-work%3F-

               Note that becausethe last octet of the sourceand destination IP address are the only parts that are used in
               the load balancing calculation, devices that share a commonlast octet will end up hashing to the same
               physical link acrossa channel, even if they are in different subnets.


             https://www.netapp.com/us/media/tr-3802.pdf




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